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                                  IN THE UNITED STATES DISTRICT COURT
                                      FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                                      )
                                                               )                 8:16CR102
                           Plaintiff,                          )
                                                               )
         vs.                                                   )                   ORDER
                                                               )
SERGIO IRIBE-PARRA,                                            )
                                                               )
                           Defendant.                          )



         This matter is before the court on the motion for an extension of time by defendant Sergio Iribe-Parra (Iribe-

Parra) (Filing No. 44). Iribe-Parra seeks additional time in which to file pretrial motions in accordance with the

progression order. Iribe-Parra seeks to file such motions out of time. Upon consideration, the motion will be granted.



         IT IS ORDERED:

         Defendant Iribe-Parra's motion for an extension of time (Filing No.44) is granted. Iribe-Parra is given until

on or before May 20, 2016, in which to file pretrial motions pursuant to the progression order. The ends of justice

have been served by granting such motion and outweigh the interests of the public and the defendant in a speedy trial.

The additional time arising as a result of the granting of the motion, i.e., the time between April 14, 2016, and May

20, 2016, shall be deemed excludable time in any computation of time under the requirement of the Speedy Trial

Act for the reason defendant's counsel requires additional time to adequately prepare the case, taking into

consideration due diligence of counsel, and the novelty and complexity of this case. The failure to grant additional

time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(7)(A) & (B).

         DATED this 2nd day of May, 2016.

                                                                BY THE COURT:

                                                                s/ Thomas D. Thalken
                                                                United States Magistrate Judge
